
*686OPINION.
Lansdon:
This appeal involves three issues: (1) The deductibility from the taxpayer’s gross income for the years in question of certain amounts alleged to have been paid by him as ordinary and necessary expenses incurred in the operation of his business; (2) the disposition of the assets and profits of the partnership of Max Ruben-stein &amp; Co. upon the withdrawal of the taxpayer therefrom; and (3) the deductibility from his gross income for the years 1920 and 1921 of losses alleged to have been sustained by the taxpayer in the sale of certain shares of stock of Kahn’s, Inc., to his wife.
The evidence adduced by the taxpayer in support of his first contention is conflicting and unconvincing. Numerous canceled checks, payable to cash, were submitted in evidence, but the Board is unable to determine therefrom just what portions of the payments so evidenced were made for necessary business expenses. The taxpayer admits that some of the amounts represented by such checks were used for his personal expenses and that he was partially reimbursed by the partnership of Rubenstein &amp; Co. for the cost of entertaining *687buyers in New York. The totals of such reimbursements were not proved at the hearing. The record also discloses that the major portion of the amounts claimed as deductions on account of necessary expenses was used for the payment of traveling expenses and the entertainment in New York of relatives of the taxpayer who were buyers for the stores in which he was financially interested. On account of the character of his business it may have been necessary for the taxpayer to spend reasonable amounts for the expenses and entertainment of buyers, but apparently he has been reimbursed for all payments that he could account for with supporting vouchers. We see no reason for disturbing the determination of the Commissioner in respect to deductions claimed for business expenses.
The contention of the taxpayer with respect to the disposition of the profits and assets of Max Rubenstein &amp; Co., at the date of his withdrawal therefrom, is well established by the evidence. When he withdrew from the partnership on December 28, 1920, the taxpayer received a cash payment of $4,229.94, concerning which there is no controversy. That was the amount of his interest in the undivided profits of the partnership on the date of his retirement therefrom, and was included in his gross income in his income-tax return for 1920. At the same time he also received uncollected accounts due Max Rubenstein &amp; Co., in the amount of $3,100, which he realized in full in cash some time during the following year, and furniture and fixtures valued at $1,400. The taxpayer contends that the sum of these two amounts, $4,500, was not income from the profits of the partnership, but was in fact a return to him of his capital contribution. The last partnership agreement is not in evidence, but the prior agreements submitted at the hearing indicate that the taxpayer contributed $2,000 in cash and assumed the cost of 40 per cent of the furniture and fixtures used in the business, which sums were increased by the amounts testified to by the taxpayer as conditions of the last agreement. We are of the opinion that the taxpayer contributed $4,850 to the capital of Rubenstein &amp; Co., and that the $4,500 represented by uncollected accounts and furniture and fixtures received by him on his withdrawal from such partnership was a return, in part, of the capital which he had contributed thereto, and that such amount should not be included in the taxpayer’s gross income for either 1920 or 1921.
The taxpayer’s final contention is that he should be allowed to deduct losses of $13,500, sustained by him in sales of certain stocks to his wife, from his gross income for the years 1920 and 1921. The facts in connection with these transactions are fully set forth in our findings above. The first purchase of such stock was made after it was known that the business of Kahn’s, Inc., was no longer profit*688able. The second purchase at $100 a share was made less than two months after the taxpayer alleges that he had sold the shares first acquired for $75 a share. We are of the opinion that these alleged sales of stock lack all the elements of a bona fide transaction and that no losses affecting the tax liability of the taxpayer resulted therefrom. See Appeal of P. B. Fouke, 2 B. T. A. 219.
Arundell not participating.
